  Case 2:07-cr-20090-KHV          Document 292          Filed 12/07/11     Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )
                                    )                        CRIMINAL ACTION
v.                                  )
                                    )                        No. 07-20090-02-KHV
TONY WASHINGTON,                    )
                                    )
                  Defendant.        )
____________________________________)

                               MEMORANDUM AND ORDER

       On July 28, 2009, the Court sentenced defendant to 300 months in prison. This matter is

before the Court on defendant’s pro se Motion For Sentence Reduction (Doc. #272) filed August 29,

2011. For reasons stated below, the Court overrules defendant’s motion.

                                      Factual Background

       A jury found defendant guilty of conspiracy to distribute or possess with intent to distribute

marijuana and 50 grams or more of cocaine base (Count 1) and conspiracy to maintain a residence

for the distribution of marijuana and cocaine base (Count 4). Defendant’s total offense level was

39, with a criminal history category I, resulting in a guideline range of 262 to 327 months.1 The

Court sentenced defendant to 300 months in prison.

                                             Analysis

       Defendant asks the Court to reduce his sentence under the Fair Sentencing Act of 2010


       1
                The Presentence Investigation Report (“PSIR”) determined that defendant was
accountable for 889.67 grams of cocaine base. See PSIR ¶ 60. Because defendant was accountable
for at least 500 grams but less than 1.5 kilograms of cocaine base, his base offense level before
adjustments was 34. See U.S.S.G. § 2D1.1(c)(3) (2009 ed.). Under the current version of the
Guidelines, because defendant was accountable for at least 840 grams but less than 2.8 kilograms
of cocaine base, his base offense level before adjustments would remain at 34. See U.S.S.G.
§ 2D1.1(c)(3) (2011 ed.).
      Case 2:07-cr-20090-KHV       Document 292         Filed 12/07/11      Page 2 of 4




(“FSA”). See Pub. L. 111-220. In particular, he asks the Court to retroactively apply the FSA.

I.       Mandatory Minimum Sentence

         Effective August 3, 2010, the FSA amended 21 U.S.C. § 841(b)(1)(A)(iii) to increase the

amount of cocaine base needed to trigger the statutory mandatory minimum sentence of ten years,

from 50 grams to 280 grams. Defendant is not entitled to relief under this amendment, however,

because the Court sentenced him to 300 months in prison, well above the mandatory minimum.2 In

addition, defendant is not entitled to relief because the Court sentenced him on July 28, 2009, before

the effective date of the FSA. Congress did not make the statutory change related to cocaine base

offenses retroactive. United States v. Reed, 410 Fed. Appx. 107, 111 (10th Cir. 2010); United States

v. Carradine, 621 F.3d 575, 580 (6th Cir. 2010), cert. denied, 131 S. Ct. 1706 (2011); see United

States v. Wright, 412 Fed. Appx. 54, 55 n.1 (10th Cir. 2011); United States v. Lewis, 625 F.3d 1224,

1228 (10th Cir. 2010), cert. denied, 131 S. Ct. 1790 (2011). The “general savings statute,” 1 U.S.C.

§ 109, requires federal courts to apply the penalties in place at the time the crime was committed,

unless the new enactment expressly provides for its own retroactive application. Reed, 410 Fed.

Appx. at 111 (citing Carradine, 621 F.3d at 580). For these reasons, the Court overrules defendant’s

claim that his sentence should be reduced based on the amendment to the statutory minimum

sentence for cocaine base offenses.

II.      Sentencing Guideline Range

         Defendant apparently argues that the Court should re-sentence him because the FSA and

subsequent amendments to the Guidelines lowered the guideline range for certain other defendants


         2
               The sentence of 300 months is still below the amended statutory maximum of
40 years for offenses involving at least 28 grams but less than 280 grams of cocaine base. See 21
U.S.C. § 841(b)(1)(B)(iii).

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  Case 2:07-cr-20090-KHV          Document 292         Filed 12/07/11     Page 3 of 4




in crack cocaine cases. A district court may reduce a term of imprisonment where the Sentencing

Commission has lowered the sentencing range pursuant to 28 U.S.C. § 994(o) and “a reduction is

consistent with the applicable policy statements issued by the Sentencing Commission.” 18 U.S.C.

§ 3582(c)(2). Section 1B1.10(a)(2), one of the applicable policy statements, provides that a

reduction is not authorized if the retroactive amendments do not apply to defendant or do not have

the effect of lowering the applicable guideline range. Because defendant’s base offense level

remains at 34 under the amended Guidelines, see U.S.S.G. § 2D1.1(c)(3) (2011 ed.) (base offense

level 34 for offenses involving at least 840 grams but less than 2.8 kilograms of cocaine base), his

guideline range remains the same.3 Accordingly, defendant is not entitled to relief. See, e.g.,

U.S.S.G. § 1B1.10(a)(2).

III.   General Authority To Re-Sentence Defendant

       Defendant also asks that the Court reduce his sentence based on a number of factors

including post-conviction rehabilitation. A federal district court may modify a defendant’s sentence

only where Congress has expressly authorized it to do so. See 18 U.S.C. § 3582(c); United States

v. Blackwell, 81 F.3d 945, 947 (10th Cir. 1996). Congress has set forth three limited circumstances

in which a court may modify a sentence: (1) upon motion of the Director of the Bureau of Prisons

in extraordinary circumstances or where defendant has reached 70 years of age and has served at

least 30 years in prison; (2) when “expressly permitted by statute or by Rule 35;” and (3) when

defendant has been sentenced “based on a sentencing range that has subsequently been lowered by

the Sentencing Commission.” 18 U.S.C. § 3582(c)(1), (2); see Blackwell, 81 F.3d at 947-48. None



       3
              Defendant appears to concede that his sentencing guideline range remains the same
under the amended Guidelines. See Doc. #272 at 2.

                                                -3-
  Case 2:07-cr-20090-KHV           Document 292         Filed 12/07/11        Page 4 of 4




of these exceptions apply here. Moreover, Rules 35 and 36 of the Federal Rules of Criminal

Procedure clearly do not authorize a substantive modification of defendant’s sentence at this time.

See Blackwell, 81 F.3d at 947-48; Fed. R. Civ. P. 35 (authorizes resentencing to correct illegal

sentence on remand from court of appeals, to reflect defendant’s substantial assistance on motion

of the government and to correct arithmetical, technical or other clear error within 14 days of

sentencing); Fed. R. Civ. P. 36 (authorizes court to correct clerical-type errors). Finally, the Court

does not have inherent authority to resentence defendant. See Blackwell, 81 F.3d at 949. For these

reasons, the Court does not have jurisdiction to resentence defendant at this time.

       IT IS THEREFORE ORDERED that defendant’s Motion For Sentence Reduction (Doc.

#272) filed August 29, 2011 be and hereby is OVERRULED.

       Dated this 7th day of December, 2011 at Kansas City, Kansas.

                                               s/ Kathryn H. Vratil
                                               KATHRYN H. VRATIL
                                               United States District Judge




                                                 -4-
